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 3   Facsimile: (818) 981-6098
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 4
 5   Attorney for Defendant
     MICHELLE LE
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 7
                                   UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                       ) CASE NO.: 2:05-CR-542-GEB
11                                                   )
                            Plaintiff,               ) STIPULATION AND ORDER TO
12                                                   ) CONTINUE
     vs.                                             )
13                                                   )
     THO LE, et. al.,                                )
14                                                   )
                            Defendants.              )
15                                                   )
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              It is hereby stipulated and agreed to between the United States of America through Matthew
17
     C. Stegman, Assistant United States Attorney; defendant, NAM PHAMTRAN, by and through his
18
     counsel, Alex R. Kessel, defendant, TRI HUU BUI, by and through his counsel Scott L. Tedmon;
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     defendant, MICHELLE CHAUN GOC LE, by and through her counsel, Mark Bledstein; defendant
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     THANG QUOC BUI, by and through his counsel, Tim Warriner; and TUNG THANH HUYNH, by
21
     and through his counsel, Matthew C. Bockman, Assistant Federal Defender, that the motions hearing
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     date currently set for January 8, 2010 at 9:00 a.m., be continued to March 12, 2010 at 9:00am.
23
              Counsel for defendant MICHELLE CHAUN GOC LE, requests a continuance to early to mid
24
     March due to a conflict with a three defendant custody federal case, U.S.A. VS. ADZHEMYAN ET
25
     AL, CASE NO. 2:09-CR-00783-JHN. The federal court set trial to begin January 12, 2010 and two
26
     sentence’s set on January 11, 2010 in federal court in Los Angeles, U.S.A. VS. ELTOUCKLY,
27
     CASE NO. CR06-897-RMT and U.S.A. VS. KUM, CASE NO. 08-1406 Counsel requires additional
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     time to continue possible plea negotiations with the government.

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 1          IT IS FURTHER STIPULATED that the period from January 8, 2009 (the date currently set
 2   for the motions hearing) through and including March 12, 2010, be excluded in computing the time
 3   within which trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C.
 4   §3161(h)(8)(B)(iv) and Local Code T4 for continuity and preparation of counsel and 18 U.S.C.
 5   §§3161(h)(8)(B)(ii) and Local Code T2 for complexity.
 6
 7   Dated: January 5, 2010                     Respectfully submitted,
 8
 9                                              /s/ I. Mark Bledstein
                                                _______________________
10                                              I. MARK BLEDSTEIN
                                                Attorney for Defendant
11                                              MICHELLE CHAUN GOC LE
12
13                                              /s/ I. Mark Bledstein for
                                                ________________________
14                                              ALEX R. KESSEL
                                                Attorney for Defendant
15                                              NAM PHAMTRAN
16
                                                /s/ I. Mark Bledstein for
17                                              ________________________
                                                SCOTT. TEDMON
18                                              Attorney for Defendant
                                                TRUI HUU BUI
19
20
                                                /s/ I. Mark Bledstein for
21                                              ________________________
                                                TIMOTHY WARRINER
22                                              Attorney for Defendant
                                                THANG QUOC BUI
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24
25                                              /s/ I. Mark Bledstein for
                                                ________________________
26                                              MATTHEW BOCKMON
                                                Attorney for Defendant
27                                              TUNG THANH HUYNH
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 1
     Dated: December 29, 2009          MCGREGOR W. SCOTT
 2                                     United States Attorney
 3                                     /s/ I. Mark Bledstein for
                                       ________________________
 4                                     MATTHEW C. STEGMAN
                                       Assistant United States Attorney
 5
 6
                                        ORDER
 7
     IT IS SO ORDERED:
 8
 9   Dated: January 5, 2010

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11                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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